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                                   1                                      UNITED STATES DISTRICT COURT
                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   4
                                       MARK GONZALEZ, individually, and                         Case No. 4:23-cv-00102-HSG
                                       on behalf of all others similarly
                                   5   situated                          ,
                                                          Plaintiff(s),                         APPLICATION FOR ADMISSION OF
                                   6                                                            ATTORNEY PRO HAC VICE;
                                              v.                                                ORDER
                                   7   CHATTEM, INC., SANOFI-                                   (CIVIL LOCAL RULE 11-3)
                                       AVENTIS U.S. LLC, and SANOFI US
                                   8   SERVICES INC.                   ,
                                   9                      Defendant(s).
                                  10
                                  11
                                               I, Haley D. Torrey                 , an active member in good standing of the bar of
                                  12
Northern District of California
 United States District Court




                                       Pennsylvania                               , hereby respectfully apply for admission to practice pro hac
                                  13
                                       vice in the Northern District of California representing: Chattem, Inc.                                    in the
                                  14
                                       above-entitled action. My local co-counsel in this case is Isabelle L. Ord                                 , an
                                  15
                                       attorney who is a member of the bar of this Court in good standing and who maintains an office
                                  16
                                       within the State of California. Local co-counsel’s bar number is: 198224                               .
                                  17
                                       One Liberty Place, 1650 Market Street, Suite 5000,       555 Mission Street, Suite 2400, San Francisco, CA
                                  18   Philadelphia, PA 19103                                   94105
                                        MY ADDRESS OF RECORD                                     LOCAL CO-COUNSEL’S ADDRESS OF RECORD
                                  19
                                       215.656.3300                                             415.836.2500
                                  20    MY TELEPHONE # OF RECORD                                 LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD

                                  21   haley.torrey@us.dlapiper.com                             isabelle.ord@us.dlapiper.com
                                        MY EMAIL ADDRESS OF RECORD                                LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD
                                  22
                                               I am an active member in good standing of a United States Court or of the highest court of
                                  23
                                       another State or the District of Columbia, as indicated above; my bar number is: 319738                             .
                                  24
                                               A true and correct copy of a certificate of good standing or equivalent official document
                                  25
                                       from said bar is attached to this application.
                                  26           I have been granted pro hac vice admission by the Court 0 times in the 12 months
                                  27
                                       preceding this application.
                                  28
                                                                                                                    American LegalNet, Inc.
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local
                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.
                                   4   Dated: February 16, 2022                                       /s/ Haley D. Torrey
                                                                                                      APPLICANT
                                   5                                                                  Haley D. Torrey
                                   6

                                   7
                                   8                                   ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10
                                  11            IT IS HEREBY ORDERED THAT the application of Haley D. Torrey                             is
Northern District of California




                                       granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
 United States District Court




                                  12
                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:            2/17/2023

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                                  17
                                                                                             UNITED STATES DISTRICT JUDGE
                                  18                                                              Haywood S. Gilliam, Jr.
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                                       Updated 11/2021                                   2                     American LegalNet, Inc.
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